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 9
10                         UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF C ALLIFORNIA
12
     YI H. LEE, LITO HUGO, Individuals, )
13                                      )       Case No.: 2:20-cv-11097
                                        )
14         Plaintiffs,                  )
                                        )       COMPLAINT FOR DAMAGES:
15         vs.                          )
                                        )
16   TESLA ENERGY OPERATIONS, INC, )            1. FAIR CREDIT REPORTING ACT
     a business entity, form unknown;   )       2. ROSENTHAL FAIR DEBT
17   EQUIFAX INFORMATION                )          COLLECTION PRACTICES ACT
     SERVICES, LLC, and DOES 1-10,      )       3. CALIFORNIA CONSUMER
18   Inclusive,                         )          CREDIT REPORTING AGENCIES
                                        )          ACT.
19         Defendants.                  )
                                        )
20                                      )
                                        )
21                                      )
                                        )
22                                      )
23
     Plaintiffs allege:
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            1. Plaintiffs YI H. LEE and LITO HUGO (“Plaintiffs”) are residents of
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     County of Los Angeles, State of California.
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                                          1 DAMAGES
                                COMPLAINT FOR
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 1         2. Defendant TESLA ENERGY OPERATIONS, INC (“TESLA”) is a
 2   company, which among other activities, reports allegedly delinquent debts to credit
 3   bureaus and is a “furnisher” under the Fair Credit Reporting Act.
 4         3. Defendant EQUIFAX INFORMATION SERVICES LLC (“EQUIFAX),
 5   is a business entity, form unknown, doing business in the State of California as
 6   credit bureau which receives negative credit information about consumers and
 7   which then publishes such information in credit reports available to its subscribers.
 8         4. Defendants DOES 1-10 are individuals and business entities, form
 9   unknown, doing business in the State of California as credit reporting agencies,
10   debt collection agencies, creditors or other persons or entities which engage in
11   credit reporting and/or debt collection. DOES 1-10, Inclusive, includes individuals
12   or business entities doing business in the State of California as credit reporting
13   agencies, debt collectors and/or creditors who have refused to delete accounts of
14   Plaintiffs that were procured through identity theft, mixed file or other manner of
15   recording an inaccurate credit account, even after Plaintiffs have notified them of
16   the false or inaccurate derogatory, and also who have reported such accounts as
17   derogatory credit references to credit reporting agencies.
18         5. Plaintiffs do not know the true names and capacities, whether corporate,
19   partnership, associate, individual or otherwise of Defendants sued herein as Does 1
20   through 10, inclusive. Plaintiffs are informed and believe and on that basis alleges
21   that Defendants Does 1 through 10, inclusive, are in some manner responsible for
22   the acts, occurrences and transactions as officers, directors or managing agents of
23   Defendants or as its agents, servants, employees and/or joint venturers and as set
24   forth in this complaint, and that each of them are legally liable to Plaintiffs, as set
25   forth below and herein:
26         a) Said Officers, directors or managing agents of Defendants personally
27   acted willfully with respect to the matters alleged in this complaint;
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                                  COMPLAINT FOR
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 1         b) Said officers, directors or managing agents of Defendants personally
 2   authorized, approved of, adopted and/or ratified the acts alleged herein or the
 3   agents, servants, employees and/or joint venturers of Defendants did so act;
 4         c) Said officers, directors or managing agents of Defendants personally
 5   participated in the acts alleged herein of Defendants;
 6         d) Said Officers, directors or managing agents of Defendants personally had
 7   close supervision of their agents, servants, employees and/or joint venturers of
 8   Defendants;
 9         e) Said Officers, directors or managing agents of Defendants personally
10   were familiar with the facts regarding the matters alleged herein;
11         f) Said Officers, directors or managing agents of Defendants personally
12   failed to investigate the circumstances appertaining to the acts alleged herein.
13   They also failed and refused to repudiate the herein alleged actions and failed to
14   redress the harm done to Plaintiffs. Further, said Officers, directors, or managing
15   agents of Defendants failed and refused to punish or discharge the said agents,
16   servants, employees and/or joint venturers of Defendants, even after learning of the
17   acts of the agents, servants, employees and/or joint venturers of Defendants.
18   Plaintiffs will seek leave to amend this complaint to set forth the true names and
19   capacities of said fictitiously named Defendants as enumerated above, together
20   with appropriate charging allegations, when learned.
21         6. Plaintiffs are informed and believe, and thereon allege that at all relevant
22   times herein each Defendant, whether actually or fictitiously named, was the
23   principal, joint venturer, agent, servant or employee of each other Defendant, and
24   in acting as such within the course, scope and authority of such relationship, took
25   some part in the acts and omissions hereinafter set forth, by reason of which each
26   Defendant is liable to Plaintiffs for the relief prayed for in this complaint, and any
27   future amended complaint. Further, Plaintiffs allege that each act alleged herein,
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                                            3 DAMAGES
                                  COMPLAINT FOR
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 1   whether by a named Defendants or fictitiously named Defendants or otherwise,
 2   was expressly authorized or ratified by each and every other Defendant herein,
 3   whether named or fictitiously named.
 4
 5                               FIRST CAUSE OF ACTION
 6             [VIOLATION OF THE FAIR CREDIT REPORTING ACT
 7                             AGAINST ALL DEFENDANTS]
 8          7. Plaintiffs re-alleges and incorporates all preceding paragraphs as though
 9   set forth in full in this cause of action.
10          8. Plaintiffs are consumers as this term is defined by 15 U.S.C. Sec.
11   1681a(c) of the Fair Credit Reporting Act. All defendants are “furnishers” as
12   defined by 15 U.S.C. 1681s-2 of the Fair Credit Reporting Act, except, EQUIFAX
13   who is a “consumer reporting agency” as that term is defined in 15 U.S.C. Section
14   1681a (f).
15   LEE CASE FACTS
16          9. On May 23, 2014, Mr. Lee signed an agreement to have solar panels
17   installed on his home in Rowland Heights. The terms of this agreement were under
18   a “Power Purchase Agreement” (PPA), where he did not own any of the
19   equipment, instead, paid Solar City (TESLA) for energy produced from the panels
20   at a pre-arranged rate per Kilowatt Hour, similar to the electric company. This was
21   not a loan. Mr. Lee chose this type of arrangement to ensure that the solar system
22   would not reflect on his debt to income ratio, or report on his credit report as he
23   manages these carefully.
24          10. Unexpectedly, in September 2020, Mr. Lee discovered that he was
25   denied refinancing for his home due to TESLA reporting his PPA account to
26   EQUIFAX as a 20-year loan with the high credit the amount of $79,933.00.
27          11. This has damaged Mr. Lee’s ability to refinance his primary residence
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                                             4 DAMAGES
                                   COMPLAINT FOR
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 1   and will end up costing him more if he is able to find someone to grant him the
 2   ability to refinance. Mr. Lee has been losing sleep and has anxiety at not being
 3   able to refinance his home at reasonable rates.
 4         12. On July 19, 2017, Mr. Lee received an email from Cassandra Dixon
 5   from Solar City DBA TESLA, stating that the full pre-payment for his solar panels
 6   would be $46,195.54 plus any applicable taxes.
 7         13. On September 30, 2020, Mr. Lee received a Purchase Option Statement
 8   from TESLA stating the total purchase option amount was $71,114.09.
 9         14. On October 1, 2020, Mr. Lee sent a dispute email to TESLA. Plaintiffs
10   asked why In July 2017 it would cost him $46,195.54 to fully prepay his PPA
11   account, then in September 30, 2020, he received a Purchase Option Statement
12   stating the pre-payment amount would be $71,114.09. Mr. Lee also disputed the
13   TESLA unsecured loan in the amount of $79,933.00 appearing on his EQUIFAX
14   credit report. Mr. Lee requested that TESLA investigate the matter and delete the
15   loan from his credit report.
16         15. On September 20, 2020, and October 1, 2020, Mr. Lee placed telephone
17   calls to EQUIFAX to dispute the TESLA loan appearing on his credit report. He
18   disputed the TESLA unsecured loan in the amount of $79,933.00 as inaccurate and
19   requested that the TESLA account be removed from his credit report.
20         16. On October 6, 2020, Mr. Lee received two responses from EQUIFAX.
21   EQUIFAX report /confirmation #0274054425 and report/confirmation
22   #0274056901 with their investigation results, which were that they verified that the
23   TESLA account was correctly appearing on Mr. Lee’s credit report and the account
24   would remain unchanged.
25   HUGO CASE FACTS
26         17. On March 30, 2015, Mr. Hugo signed an agreement for solar panels on
27   his home in Monterey Park, California. The terms of this agreement were under a
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                                              5 DAMAGES
                                    COMPLAINT FOR
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 1   “Power Purchase Agreement” (PPA), where Mr. Hugo did not own any of the
 2   equipment, instead, paid Solar City (now TESLA) for energy produced from the
 3   panels at a pre-arranged rate per Kilowatt Hour, similar to the electric company.
 4   This was not a loan. Mr. Hugo chose this type of arrangement to ensure that the
 5   solar system would not reflect on his debt to income ratio, or report on his credit
 6   report as he manages these carefully.
 7         18. On June 2020, Mr. Hugo discovered that the Tesla Energy account was
 8   appearing on his credit report as a liability when he applied with NBKC Bank to
 9   refinance his mortgage. On October 16, 2020, he checked his credit reports and
10   discovered that only EQUIFAX was reporting the TESLA account in the amount
11   of $17,666. Mr. Hugo became motivated to pay off the solar panels because he felt
12   the TESLA account was unfairly appearing as an installment account and hurting
13   his credit score. Mr. Hugo works as a real estate appraiser licensed by the State
14   Board of Equalization and he works for the County Assessor. Mr. Hugo contacted
15   TESLA and pointed out that they were advertising solar systems for $1.49/watt.
16   Using their own price, this means that his system, which is only 3/.64 kw, would
17   be valued only at $5,423 ($1.49 x $3.64 x 1000), if new. However, TESLA instead
18   stated that the value was $18,572.85 (after sales tax). TESLA eventually offered a
19   $2,500 “discount,” which Mr. Hugo refused. TESLA refuses to provide
20   documentation on how they came up with their value. Moreover, they could not
21   refute Mr. Hugo’s calculation. The PPA says that fair market value should be used,
22   and Mr. Hugo believes TESLA is violating their own PPA agreement.
23         19. On October 17, 2020, Mr. Hugo sent a dispute letter to EQUIFAX
24   requesting that EQUIFAX remove the TESLA account because it was inaccurate.
25   The TESLA account was appearing as an installment account and a loan. Mr. Hugo
26   did not borrow money from TESLA, and it is not a loan.
27         20. On November 3, 2020, EQUIFAX sent Mr. Hugo the results of their
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 1   investigation. The results were that they verified the TESLA account, and it would
 2   remain unchanged.
 3   COMMON ALLEGATIONS
 4         21. On information and belief, EQUIFAX sent dispute notices to TESLA
 5   thereby activating TESLA’S obligations to Plaintiffs under the Fair Credit
 6   Reporting Act.
 7         22. Plaintiffs complied with all requests of each of the Defendants to
 8   provide information in order to have the erroneous marks removed from his credit
 9   profile. Despite the insistence of Plaintiffs, the Defendants, and each of them,
10   failed to correct the errors and failed to undertake sufficient investigations upon
11   being notified of the errors.
12         23. Within the past several years, Defendants, and each of them, willfully
13   violated the provisions of the Fair Credit Reporting Act in at least the following
14   respects:
15         a. By willfully and negligently failing, in the preparation of the consumer
16   report concerning Plaintiffs, to follow reasonable procedures to assure maximum
17   possible accuracy of the information in the report;
18         b. By willfully and negligently failing to correct, after receiving ample
19   notice, information about the Plaintiffs which defendants knew, or should have
20   known, was incomplete and/or inaccurate;
21         c. By willfully and negligently failing to correct and/or delete the
22   incomplete and inaccurate information in Plaintiffs’ file after conducting an
23   investigation;
24         d. By willfully and negligently failing to conduct a reasonable investigation
25   of Plaintiffs’ complaints, and by willfully and negligently failing to implement
26   corrective actions once the outcome of such investigations were known, or should
27   have been known, to the defendants; and,
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                                               7 DAMAGES
                                     COMPLAINT FOR
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 1           e. By willfully and negligently failing to provide subsequent users of the
 2   report with the Plaintiffs’ statement of dispute or a summary thereof.
 3           24. As a proximate result of the actions of the Defendants, and each of
 4   them, Plaintiffs have been damaged in an amount which will be proven at time of
 5   trial. Plaintiffs spent hours researching and evaluating the contracts for their solar
 6   system very specifically so that it would not be considered an “owned system”
 7   where they would carry any debt. When the TESLA account hit their credit reports
 8   years after the contract was signed, it was very disturbing and surprising causing
 9   Plaintiffs to be very stressed and anxious. Plaintiffs have lost sleep, have anxiety at
10   having their credit affected and not being able to refinance their homes at a
11   reasonable rate. Specifically, Plaintiffs have been damaged by the improper
12   reporting of total outstanding debts, and debt-to-income ratios, affecting their
13   financial wellbeing. As provided under the cited law, Plaintiffs are entitled to
14   actual damages, pain and suffering, punitive damages, penalties, costs and attorney
15   fees.
16           25. Plaintiffs allege that defendants, and each of them, have willfully
17   violated FCRA with respect to Plaintiffs and towards others similarly situated.
18   Specifically, defendants placed a large debt owing on their EQUIFAX credit
19   reports when there was no debt owing. This large debt damaged Plaintiffs’ credit
20   standing and credit scores. Plaintiffs gave defendants ample opportunities to
21   correct their mistake, but defendants, and each of them, have willfully refused to
22   remove the alleged debt from Plaintiffs’ EQUIFAX credit report. Slapping a large
23   debt on a consumer’s credit report is nothing but a pressure tactic to force
24   consumers to repay debts they do not owe, and defendants have done this
25   deliberately to coerce Plaintiffs, and other consumers, into repaying debts they do
26   not owe. Furthermore, plaintiffs allege that TESLA and DOES 1-10, Inclusive,
27   made the decision to inflict large debts upon its solar customers’ credit reports as
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                                            8 DAMAGES
                                  COMPLAINT FOR
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 1   an accounting ploy to falsely increase the balance-sheet assets of the company. In
 2   addition to general and special damages according to proof, Plaintiffs also seek an
 3   assessment of punitive damages against TESLA and DOES 1-25, Inclusive.
 4
 5                              SECOND CAUSE OF ACTION
 6               VIOLATION OF THE CALIFORNIA CONSUMER CREDIT
 7                      REPORTING AGENCIES ACT AGAINST
 8                              TESLA AND DOES 1-10, INCLUSIVE.
 9         26. Plaintiffs incorporate all preceding paragraphs as though alleged in full
10   in this cause of action.
11         27. Within two years prior to the filing of the complaint in this action,
12   defendants TESLA and DOES 1-10, Inclusive, have willfully and negligently
13   violated the California Consumer Credit Reporting Agencies Act in at least the
14   following ways:
15         28. By willfully and negligently furnishing to credit reporting agencies
16   information about the Plaintiffs, which Defendants TESLA and DOES 1-10,
17   Inclusive knew, or should have known, was incomplete or inaccurate.
18         29. Each of the Defendants TESLA and DOES 1-10, Inclusive willfully and
19   negligently failed in their obligations to reinvestigate and correct the derogatory
20   marks in Plaintiffs’ credit reports. Plaintiffs allege that each of the Defendants
21   TESLA and DOES 1-10, Inclusive’ s policies and practices hinder and obstruct
22   adequate and meaningful reinvestigations, and that each defendant knows of this
23   effect of its policies and practices.
24         30. As a proximate result of the willful and negligent actions of the
25   Defendants TESLA and DOES 1-10, Inclusive, and each of them, Plaintiffs have
26   suffered both general and special damages in an amount which will be proven at
27   time of trial. Plaintiffs spent hours researching and evaluating the contracts for
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                                            9 DAMAGES
                                  COMPLAINT FOR
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 1    their solar system very specifically so that it would not be considered an “owned
 2    system” where they would carry any debt. When the TESLA account hit their
 3    credit reports years after the contract was signed, it was very disturbing and
 4    surprising causing Plaintiffs to be very stressed and anxious. Plaintiffs have lost
 5    sleep and have anxiety at not being able to refinance their homes. Specifically,
 6    Plaintiffs have been damaged by the improper reporting of total outstanding debts,
 7    and debt-to-income ratios, affecting their financial wellbeing. As provided under
 8    the cited laws, Plaintiffs are entitled to actual damages, loss of wages, damage to
 9    credit reputation, pain and suffering, costs and attorney fees. Plaintiffs are also
10    entitled to punitive damages and statutory penalties for willful violations of the
11    California Consumer Credit Reporting Agencies Act.
12
13                                  THIRD CAUSE OF ACTION
14         VIOLATION OF THE CALIFORNIA FAIR DEBT COLLECTION
15            PRACTICES ACT VS. TESLA AND DOES 1-10, INCLUSIVE
16          31. Plaintiffs incorporate all preceding paragraphs as though set forth in full
17    in this cause of action.
18          32. Under Cal. Civ. Code Section 1788.2, “debt collector” includes “any
19    person who, in the ordinary course of business, regularly, on behalf of himself or
20    herself or others, engages in debt collection.” Under this definition, TESLA and
21    DOES 1-10, Inclusive, all qualify as “debt collectors”.
22          33. Under Cal. Civ. Code Section 1788.17, the requirements and
23    prohibitions of the federal Fair Debt Collection Practices Act are incorporated into
24    the California Fair Debt Collection Practices Act. TESLA and DOES 1-10,
25    Inclusive, all engaged in conduct proscribed by 15 U.S.C. Section 1692e and
26    Section 1692f, as follows:
27          a.15 USC 1692e (2): making false representations concerning the character,
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                                   COMPLAINT 10
                                             FOR DAMAGES
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 1    amount or legal status of any debt;
 2          b. 15 USC 1692e (5): making threats to take legal action that cannot legally
 3    be taken;
 4          c. 15 USC 1692e (8): communicating to any person credit information which
 5    is known or which should be known to be false;
 6          d. 15 USC 1692f (1): attempting to collect an amount not authorized by the
 7    agreement creating the debt or permitted by law;
 8          e. The above-referenced sections of FDCPA is not intended to be exhaustive,
 9    and Plaintiffs reserve the right to plead additional violations of FDCPA as facts
10    become known.
11          34. As a result of these violations of the California Fair Debt Collection
12    Practices Act by TESLA and DOES 1-10, Inclusive, Plaintiffs have suffered
13    general and special damages according to proof, and are entitled to a statutory
14    penalty for each separate violation of California’s Act, as well as punitive damages
15    against these Defendants for conduct amounting to fraud, oppression and malice
16    under California law. In addition, Plaintiffs are entitled to attorney’s fees, costs
17    and expenses.
18
19    WHEREFORE, Plaintiffs pray for judgment as follows:
20          1. For general and special damages according to proof at trial;
21          2. For statutory penalties for each separate statutory violation where
22                allowed by statute;
23          3. For punitive damages against defendants according to proof at trial and
24    using the applicable punitive damages standards from the involved statutes;
25          4. For attorney’s fees where authorized by statute or law;
26          5. For costs of suit;
27          6. For such other relief as the court deems just and proper.
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                                    COMPLAINT 11
                                              FOR DAMAGES
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 1
 2          PLAINTIFFS DEMANDS A JURY TRIAL
 3
 4    Dated: December 07, 2020     LAW OFFICES OF ROBERT F. BRENNAN, P.C.
 5
                                         By: /s/ Robert F. Brennan________
 6                                              Robert F. Brennan
 7                                            Attorneys for Plaintiffs

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                                 COMPLAINT 12
                                           FOR DAMAGES
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